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 7   Telephone: (212) 759-6300
 8   Attorneys for Defendant RAMON DESAGE
 9
                                  UNITED STATES DISTRICT COURT
10
                                         DISTRICT OF NEVADA
11
12   UNITED STATES OF AMERICA,           )
                                         )                Case No.: 2:13-cr-00039-JAD-VCF
13         Plaintiff,                    )
                                         )
14                 vs.                   )
                                         )
15   RAMON DESAGE,                       )
                                         )
16         Defendant.                    )
     ____________________________________)
17
                               AMENDED UNOPPOSED MOTION TO
18                              TRAVEL AND PROPOSED ORDER
19          Comes now, Defendant Ramon Desage, by and through his counsel, Richard A. Wright,
20   Esquire and Richard B. Herman, Esquire, and hereby moves this Court for permission to amend
21   travel dates from Las Vegas, Nevada to New York City to August 16, 2015 and returning on August
22   18, 2015. While in New York City, Mr. Desage will be meeting with attorneys and he will be
23   staying at the St. Regis Hotel, 2 East 55th Street, New York, New York. The Court on August 11,
24   2015 approved Mr. Desage’s initial travel motion; unfortunately, Mr. Desage’s meeting in New York
25   was cancelled and we are trying to reschedule with the Court’s approval.
26          On August 10, 2015, Richard B. Herman, Counsel for Mr. Desage, personally discussed Mr.
27   Desage’s initial travel request with Pre-Trial Services Officer Zack Bowen, who advises he consents
28   to this travel request. Mr. Herman provided Officer Bowen with Mr. Desage’s travel itinerary and
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 1   hotel information. Mr. Desage will continue with electronic monitoring and will abide by all other
 2   bail conditions. Upon his return to Las Vegas on August 18, 2015, Mr. Desage will give a courtesy
 3   call to Officer Bowen.
 4          Counsel for Mr. Desage has discussed the initial request with Assistant United States
 5   Attorney Gregory Damm, who has no opposition to it.
 6          DATED this 12th day of August 2015.
 7
                                                  Respectfully submitted:
 8
 9                                                BY          /s/ Richard A. Wright
                                                    RICHARD A. WRIGHT, ESQUIRE
10                                                  300 S. Fourth Street
                                                    Suite 701
11                                                  Las Vegas, NV 89101
                                                   Telephone: (702) 382-4004
12                                                 Attorney for Defendant, Ramon Desage
13
                                                  BY          /s/ Richard B. Herman
14                                                  RICHARD B. HERMAN, ESQUIRE
                                                    New York Bar No. 1898758
15                                                 445 Park Avenue
                                                   9th Floor
16                                                  New York, NY 10022
                                                   Telephone: (212) 759-6300
17                                                 Attorney for Defendant, Ramon Desage
18
19
                                                 ORDER
20
21
            This matter having come before the Court on the amended unopposed motion of Defendant
22
     Ramon Desage, and good cause appearing, Defendant’s Motion for Permission to Travel to New
23
     York City on August 16, 2015 and returning August 18, 2015 is GRANTED.
24
25         DATED: August 12, 2015.
                                                  __________________________________________
26                                                HONORABLE JENNIFER A. DORSEY
27
28   Respectfully submitted by:
         Case
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 1   WRIGHT STANISH & WINCKLER
 2       /s/ Richard A. Wright
     RICHARD A. WRIGHT
 3
 4   RICHARD B. HERMAN, P.C.
 5      /s/ Richard B. Herman
     RICHARD B. HERMAN
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